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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE
COMPANY (U.S.A.) f/k/a Manufactures
Life Insurance Company

Plaintiff,
Case No. 4:18-CV-02869

v.

THE ESTATE OF JENNIFER LAUREN
WHEATLEY, et al.

Some ee me” ere” Se ere” Se” eee” ee” Mee” nee Nee”

Defendants.

Defendant Wheatley Estate’s Reply to John Hancock’s Response In Opposition To
Defendant Wheatley Estate’s Motion for Partial Summary Judgment.

The Defendant, the estate of Jennifer Lauren Wheatley (“Wheatley estate’) submits this
reply to the Plaintiff John Hancock life insurance Company (USA) f/k/a Manufacturer’s Life
Insurance Company’s (“John Hancock”) memorandum in opposition (Doc 131) to the Wheatley
estates motion for partial summary judgment. (Doc 125)

John Hancock’s position is, in essence, that: (1) the court’s entry of summary judgment
as to the impleaded funds renders moot the court’s need to enter an order as to those funds outside
of the court’s impleader jurisdiction ($16,069.94 paid by John Hancock to Ward prior to the filing
of this interpleader action) and (2) John Hancock should not be responsible for the Wheatley
estate’s attorney’s fees which were unreasonable due to the Wheatley estates refusal to engage in
mediation and to accept John Hancock’s offer of judgment and that the Wheatley estate’s actions
have been done “all in an effort to keep counsel’s clock running and increase its attorneys fee

award.” (Doc 131, p. 8)
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1. The breach of contract/negligence claims are the only means of the court having
subject matter jurisdiction over the $16,069.94 wrongfully paid by John Hancock to
Ward

John Hancock initially did not disclosed the full amount paid to Ward in its complaint.
Paragraph 19 of John Hancock’s complaint stated that the sum of $12,468.90 had been paid to
defendant Ward. Over a year later, after several inquiries by the Wheatley estate’s attorney
(Attachment A), John Hancock disclosed that it had, in fact, paid Ward an additional $3,601.97
in two payments of $1,800.99 per month for the months of June and July 2018. Then on
11/27/2019, John Hancock, in its subsequent answer to paragraph 28 of the Wheatley estates
counterclaims, admits that it paid Ward the sum of $12,468.06, It is now undisputed that the sum
of $16,069.94 had already been paid to Ward prior to this action being filed, (Doc 131, p. 4,
Statement of Material Fact (SOMF) 24, 24A)

The “mootness” argument ignores the need for an adjudication that John Hancock breached
its annuity contract and/or was negligent in its handling of this claim. John Hancock avoided the
filing of responses to the detailed allegations of the initial counterclaim for breach of contract by
the filing of a 12(B)(6) motion. When John Hancock filed an answer on November 27, 2019, it
denied all of the Wheatley estates essential allegations in support of its breach of contract claim,
including a denial that the Wheatley estate was “entitled to all monthly payments payable
subsequent to the death of Jennifer Lauren Wheatley that are due and payable under the annuity
contract.” (Doc 103, p. 11-12) John Hancock’s position is that the Wheatley’s estate entitlement
to the money wrongfully paid to Ward “follows” from the interpleader ruling on the entitlement
issue, without any reference to the court’s need for a subject matter jurisdictional basis to do

anything with the $16,069.94. (Doc 131, p. 2)
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John Hancock erroneously refers to this partial summary judgment motion as “moot”
because of this court’s ruling in favor of the estate on the annuity entitlement issue, which was the
core issue raised by the interpleader action. For those reasons stated in the Wheatley Estate’s prior
Motion To Revise March 14, 2009 Minute Entry (Doc 76), the court, through this interpleader
action, has no subject matter jurisdiction over the funds that John Hancock was no longer holding
due to John Hancock’s previous disbursement to defendant Ward. In interpleader actions, 29 USC
section 1335 grants the court subject matter jurisdiction over only those funds which are in the
possession of the plaintiff and which can be, and are, paid into the court. A finding by the court
of John Hancock’s liability on the breach of contract claim is necessary in order for the court to
have jurisdiction over these funds. Given John Hancock’s admission that there is no genuine issue
of material fact as to liability on the breach of contract claim (Doc 131, p. 6), the Wheatley estate’s
motion for partial summary judgment should be granted.

Il. John Hancock has created the need for this interpleader and should be responsible
for all of the Wheatley estates reasonable attorney’s fees.

John Hancock argues that the Wheatley estate should not be entitled to any attorney’s fees
due to its dragging out this litigation and refusing to engage in mediation, This case, however,
unlike a traditional interpleader action, does not involye two parties with colorable claims
disputing the entitlement to a common fund, Rather, it involves an insurance company which
through its actions has created a dispute which should never have been. Having made a series of
mistakes in the handling of this claim, John Hancock has refused to admit its mistakes, has refused
to reveal facts that would show the extent of its mistakes and has created an almost unending series
of legal obstacles to correcting its mistakes. The assessment of the Wheatley estate’s attorney’s

fees against John Hancock is one small step in the right remedial direction.
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John Hancock as the administrator of the annuity contract was authorized to administer
payments due under the annuity contract. It had the responsibility to ensure that change of
beneficiary forms were consistent with the annuity contract requirements. The language
governing change of beneficiaries is simple and straight forward. The annuity application states:
Acceptance of the policy will constitute agreement to its terms and to any changes specified by

the Company in the policy, except that any change in the amount, classification, plan or benefits
will be made only with the owner’s written consent.

The annuity contract states:

Change of beneficiary. During the annuitant’s lifetime you (the owner of the policy) can change
the beneficiary; you must give us notice in written form satisfactory to us....

(Doc 74, p. 5)

The language-“made only with the owner’s written consent” and “(the owner) must give notice in

written form’ could not be clearer,

It is puzzling how this clear and unambiguous language could be overlooked by John Hancock

multiple times, including the following:

1. December-2008/January 2009: John Hancock accepted a change of beneficiary form,
obviously designed to be used for a life insurance policy and not an annuity, and which was
signed by Jennifer Wheatley as the owner, when John Hancock’s records show the owner to
be the US DOJ, and John Hancock failed to follow one of its first written employee
procedures for processing change of beneficiary forms-to check the annuity contract terms.

2. November 2, 2017: Upon receipt of Mr. Wheatley’s notice of Jennifer Wheatley’s death
and the estate’s claim to the annuity benefits, John Hancock again failed to follow its written
procedures -to first check any change of beneficiary forms with the contract requirements.

3. November 15, 2017: Louis Wheatley sent John Hancock a letter requesting required
documents to complete change in ownership of the annuity for balance of guaranteed term.
(Doc 1-5, p. 6)

4. February 26, 2018: Follow-up demand by Wheatley estate for annuity payments. (Doc .1 —
5, p. 8)
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On March 8, 2018, John Hancock sent the Wheatley estate notice that a “review” of the
Wheatley estates claim had been made and that John Hancock had determined upon review
that the designated beneficiary of the annuity was not the Wheatley estate. (Doc 74-1, p.
33))

. On March 28, 2018, John Hancock sent the Wheatley estate notice that it was not authorized
to release any information and that there was “a designated beneficiary on file, as requested
by the annuitant.” (Doc 74-1, p. 35)

. Then again, April 16, 2019 the estate contacted John Hancock advising it to contact US
DOJ, the owner of this annuity, about the designated beneficiary. (Doc 74-1, p. 8)

If John Hancock at any time had looked at the language of the annuity contract, it could
have easily determined, from its own records, that the beneficiary change submitted in 2008
~ 2009 was invalid on its face. The circumstantial evidence in this case strongly suggests
that John Hancock did not refer to the annuity contract at all during the above times. Then,
without filing an interpleader, John Hancock made the decision to pay the annuity benefits to
Ward giving Ward’s claim a veneer of legitimacy that it did not warrant. John Hancock
took the clear and unambiguous language of the annuity contract and has effectively relabel
it as doubtful and uncertain and the subject of multiple claimants in this interpleader action.
The “substantial controversy” created by John Hancock’s actions is a sufficient basis to deny
John Hancock’s request for attorney’s fees. Rhoades v. Casey, 196 F.\3d 592, 603 (Sth Cir.
Ct. App. 1999), see also Lexington Ins. Co, v. Jacobs Indus. Maint. Co., LLC, 435 Fed.
Appx. 144, 3' Cir. 2011 (a party seeking interpleader must be free from blame in causing the
controversy) (See cited cases, Doc 88, p. 3-4). The court has the equitable power in an
interpleader action to award attorney’s fees to an interpleader defendant. But in this case,
there are other grounds for the Wheatley estate to recover its attorney’s fees.

Tex. Civ & Rem Code, section 38.001 (8) establishes entitlement to reasonable attorney’s

fees for a valid claim based on a written contract. For delays in the payment of a claim, Tex.
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Ins. code section 542.06 makes the insurer liable for “reasonable and necessary attorney’s
fees.” Massachusetts statute, ALM GL ch. chapter 93A, Section 2, provides for attorney’s
fees for violations of unfair claim settlement practices (5" counterclaim subject to pending
motion for leave to amend.)

III. Mediation would be most effective once discovery has been completed

John Hancock’s argument that the Wheatley estate’s refusal to mediate till discovery has
been completed is responsible for “running up legal fees” ignores John Hancock’s campaign of
nondisclosure to the Wheatley estates reasonable discovery requests. (For detailed examples see
Doc 88, p. 12-18, Doc 123, p.6-12) John Hancock has resisted discovery of the most basic
items: 1. backside to exhibit B of the complaint; 2, Change of beneficiary forms that were
generally used at the time exhibit B (Doc 1-2) was submitted; 3. A copy of the “review” of the
Wheatley estate’s claim and the identification of the person(s) conducting said review; 4. The
written authorization for the payment of the annuity funds to Ward; and 5. The opportunity to
depose the individuals involved in the handling of the change of beneficiary and the death

benefits claims.

Conducting mediation would be difficult without the Court’s ruling on the pending
motions (Wheatley estate’s motions: 1. leave of court to amend (Doc 106), choice of law (Doc
115), amend scheduling order (Doe 122) and John Hancock’s motion for protective order (Doc
119) and the completion of discovery. The difficulty of conducting mediation before the Court
rules on the pending motions and the completion of discovery is that the parties would be in the
position of having to speculate on the scope of available remedies for the claim settlement
practices that led to the apparent mishandling of these annuity benefits. John Hancock, instead

of being an advocate for the clear wording of the annuity and a clear explanation of what went
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wrong, has retreated into a position of nondisclosure of any facts that might explain this case’s

bizarre sequence of events. Under this cloud of uncertainty, mediation is not likely to be

productive.

TV. Conclusion

Partial summary judgment should be granted on the liability of John Hancock for breach

of contract.

Respectfully submitted,

/si M. Douglas Berry

GABRIEL BERRY & WESTON, L.L.P.
North Carolina Bar No, 6506
dougberry@gbwlaw.com

214 Commerce Place

Greensboro, North Carolina 27401

(336) 275.9381 — Telephone

(336) 275-7864 — Facsimile

GABRIEL BERRY & WESTON, L.L.P.
Richard W. Gabriel

North Carolina Bar No. 6623
rgabriel@gbwlaw.com

214 Commerce Place

Greensboro, North Carolina 27401

(336) 275.9381 - Telephone

(336) 275-7864 — Facsimile

HERBERT A. JANZEN, P.C.
Herbert A. Janzen

Fed. Id.: 11620

Texas Bar No. 10572700
herbjanzen.office@yahoo.com
4300 Yoakum Boulevard
Houston, Texas 77006
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(713) 683.1599 — Telephone
(713) 683.1588 — Facsimile

Attorneys for Defendant The Estate of
Jennifer Lauren Wheatley

CERTIFICATE OF SERVICE

This is to certify that on this date, April 16, 2020, a copy of the foregoing The Defendants,
the Estate of Jennifer Lauren Wheatley, Louis Anthony Wheatley, Individually, and as
Administrator of the Estate of Jennifer Lauren Wheatley, Deceased’s Reply to Plaintiff, John
Hancock Life Insurance Company’s (U.S.A.} Response in Opposition to Defendant’s Motion
to Modify Scheduling Order was electronically filed utilizing the CM/ECF System which will
provide notice to the following individuals:

Mr. Gregory John Sachnik

Attorney for Plaintiff John Hancock Life Insurance Company
(U.S.A.)

2200 Ross Avenue, Suite 3300

Dallas, Texas 75201

Ms. Jennifer L. Berhorst

Attorney for Plaintiff John Hancock Life Insurance Company
(U.S.A,)

1200 Main Street, Suite 3800

Kansas City, Missouri 64105

Mr, H. Clay Moore

Attorney for Defendant Jeremy G. Ward
4314 Yoakum Boulevard, Suite 2E
Houston, Texas 77006

Ms, Ariel Nicole Wiley

Attorney for U.S. Department of Justice
U.S. Attorney’s Office

1000 Louisiana Street, #2300

Houston, Texas 77002

Mr. Bob Mabry

Attorney for Defendant Jeremy G. Ward and Annie Hall
704 N. Thompson St. Ste. 157

Conroe, Texas 77301-2066
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This the 16th day of March, 2020.

‘si M. Douglas Berry

GABRIEL BERRY & WESTON, L.L.P.
North Carolina Bar No. 6506
dougberry@gbwlaw.com

214 Commerce Place

Greensboro, North Carolina 27401

(336) 275.9381 — Telephone

(336) 275-7864 — Facsimile

Attorneys for Defendant The Estate of
Jennifer Lauren Wheailey
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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

John Hancock Life Insurance Company )
(U.S.A.) f/k/a Manufacturers )
Life Insurance Company, )
) Civil Action 4:18-ev—02869
Plaintiff, )
v. )
. )
The Estate of Jennifer Lauren Wheatley )
c/o Louis A, Wheatley, et al. )
)
)

Defendants.

DECLARATION OF M. DOUGLAS BERRY

1. My name is M. Douglas Berry, | am a partner in the law firm of Gabriel Berry and
Weston, LLP in Greensboro North Carolina . I am the lead attorney representing the defendant
estate of Jennifer Wheatley deceased, and Louis A. Wheatley as personal representative and
executor of his estate (“Wheatley estate”). By virtue of my representation of the Wheatley estate
in this case, ] have personal knowledge of the facts stated below.

2. That on October 30, 2019, I sent the attached email and attached two pages to John
Hancock’s counsel, Ms, Berhorst.

3. I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED this] 4th day of April 2020.

 

M. Douglas Berry
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Doug Berry

From: Doug Berry

Sent: Wednesday, October 30, 2019 12:20 PM

To: Berhorst, Jennifer

Cc: Clay Moore; Wiley Ariel (USATXS)

Subject: John Hancock

Attachments: SUMMARY OF ANNUITY PAYMENTS .thru.10.10.2019,xIsx

Several months ago, | sent you a spread sheet showing John to be $3,601.87 in arrears as of August 1, 2019. Attached is
an updated spread sheet showing that this arrears has not been brought up to-date. Please give me John Hancock’s
position on whether It Intends to pay these arrears into the court.

M. Douglas Berry
Attorney-At-Law

Gabriel, Berry & Weston, LLP
214 Commerce Place
Greensboro, NC 27401
Telephone: (336) 275-9381

Email: dougberry@gbwlaw.com
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Date due Amt due amt paid date pd
11/10/2017 1731.68
12/10/2017 1731.68
1/10/2018 1800,94
2/10/2018 1800.94
3/10/2018 1800.94
4/10/2008 1800,94
5/10/2018 1800.94 12468.06 5/17/2018
6/10/2018 1800.94
7/10/2018 1800.94
8/10/2019 1800.94
9/10/2018 1800.94
10/10/2018 1800.94 5402.83 10/31/2019
11/1/2018 1800,94 1800.94 11/8/2018
12/10/2018 1800.94 1800,94 12/10/2018
1/10/2019 1872.98 1872.98 1/9/2019
2/10/2019 1872.98 1872.98 2/11/2019
3/10/2019 1872.98 1872.98 3/11/2019
4/10/2019 1872.98 1872.98 4/9/2019
5/10/2019 1872.98 1872,98 5/6/2019
6/10/2019 1872.98 1872.98 6/7/2019
7/10/2019 1872.98 1872.98 7/9/2019
8/10/2019 1872.98 1872.98 8/13/2019
9/10/2019 1872.98 1872.98 9/9/2019
10/10/2019 1872.98 1872.98 10/9/2019
11/10/2019

Totals: 43804,44 40202.57
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Arrears

3601.87
